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                         IN UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA                     )
                                             )
                                             )
                 vs                          )         Case No. 3:08CR116(6)
                                             )

       Reginald Pugh




                      ORDER TERMINATING SUPERVISED RELEASE




On August 17, 2016, the above named commenced his six (6) year term of supervised release.

Based on the recommendation of the U.S. Probation Officer and for good cause shown, it is

hereby ordered that the term of supervised release be terminated.




                                                                    (tp - per Judge Rice authorization after his review)
                                             _______________________________
                                             The Honorable Walter H. Rice
                                              United States District Judge

                                               09-17-2020
                                             ________________________________
                                             Date
